                                                                                f lL f U
Luke Carlson Storey                                                        7.02Q AUG 26 PM12: 5B
On the county at Large, Travis
Non-Domestic
c/o: PO Box 341843
Austin, Texas [78734-9998)




                          IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TEXAS, AUSTIN DIVISION
                                      ATTN: Article Ill Judge (s)
                                 D/B/A: CHIEF JUDGE Alia Moses




Luke C. Storey,
                         Plaintiff,
vs.                                                        Cause No. - - - - -- - -

UNITED STATES OF AMERICA et; al                            Complaint
DEPARTMENT OF THE TREASURY                                 Cause of Action of Accounting
INTERNAL REVENUE SERVICE
D/8/A: IRS Agent LU H. JIMENEZ,
and
DEPUTY ASSISTANT ATTORNEY GENERAL
D/8/A: DAVID A HUBBERT,
                         Defendant(s).




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                                       FORMAL COMPLAINT

LIST OF PARTIES


Plaintiff:
Luke C. Storey
c/o: PO Box 341843
Austin, Texas [78734-9998]


Defendants:
UNITED STATES OF AMERICA et; al
DEPARTMENT OF THE TREASURY
INTERNAL REVENUE SERVICE
D/B/A: IRS Agent LU H. JIMENEZ
501 West Ocean Blvd
Long Beach, California [90802-4213]


DEPUTY ASSISTANT ATTORNEY GENERAL
D/B/A: DAVID A HUBBERT
c/o: U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 2053




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                                       TABLE OF CITATIONS

CASES:
Afroyim V. Rusk, 387 U.S. 253 (1967)
DELIMA v. BIDWELL, 182 U.S. 176, 179
EVANS v. GORE, 253 U.S. 245 (1920)
GERTH v. UNITED STATES, 132 F. SUPP. 894 (1955)
LORD v. KELLY, 240 F. SUPP 167, 169, (1965)
LONG v. RASMUSSEN, 281 f. 236 (1922)
Perry v. United States, 294 U.S. 330 (1935)
U.S.A. v. WISHART, Case No: CR-00-20227-JF
UNITED STATES OF AMERICA. v. ADAM STILLO SR and JOSEPH STILLO
        94-2678; 94-2679 [decided June 19, 1995) (C.A. 7th Circuit)
WILLIAMS v. UNITED STATES, 289 U.S. 553 (1933)
District of Columbia v. Woodbury, 136 U.S. 450 (1890); Barnes v. District of Columbia,
91 U.S. 540 (1875)


48 FR42637
September 19, 1983, [amended at 53 FR 43395) Oct. 26, 1988
54 FR 48998, November 28, 1989
55 FR 25534, June 21, 1990
55 FR 52801, December 21, 1990
59 FR 67061, December 28, 1994
61 FR 39214, July 26, 1996
63 FR 58603 October 30, 1998
63 FR 70293; December 18, 1998
64 FR 10549; March 4, 1999
68 FR 28088, May 22, 2003




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McDade Act
Separation of Powers
                                             STATUTES:
Title:
Constitution for the United States; Article II, Sec.1. Clause 1 (2:1 :1)

TITLE 26
TITLE28

4 U.S.C. 110(d)
USAM TITLE 9 [Criminal Resource Manual 1760]

26 USC 7402 and 7403

26 C.F.R. 1.1(b)
26 use 7701(a)(26)

26USC§1
26 U.S.C. 3121(e)
26 use 7851 (A) (6)(A)

28 u.s.c. 547(1)
28 U.S.C. 530B
28 U.S.C. 295, 296, 297, 461(b)

28 U.S.C. 1332(d)
28 U.S.C. 2072 (B)
28 u.s.c. § 3002 (4)
TITLE 28 PARTV; CHAPTER 115 § 1746
31 U.S.C. 301 (f)(2)

31 u.s.c. §§ 301-313


TITLE 22 CFR FOREIGN RELATIONS 92.18

31 CFR 363.6
50 USC 4312



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SIXTH AMENDMENT

NINTH AMENDMENT
IRS 1040 FORMS


CITED U.C.C.
U.C.C. 1-201 (2))

u.c.c. 9-105
U.C.C. 1-201 (27)
u.c.c. 1-201 (14))
U.C.C. 3-302-(A) (2)
u.c.c. 5-102 (6))




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                                           INTRODUCTION

        Now Comes Aggrieved party's (U.C.C. §1-201 (2)) Luke C. Storey© ("Hereinafter"

Aggrieved party), Sui Juris, Secured Party (U.C.C. §9-105), NONPERSON (U.C.C. §1-

201    (27)),    NON-RESIDENT,            NON-DEBTOR            (28    U.S.C.   §3002   (4)),        NON-

CORPERATED,            NON-FICTION,           NON-SUBJECT,            NON-PARTICIPANT           in    any

Government programs, a Living flesh and blood man standing on the ground.

Undiminished capacity (Perry v. United States, 294 U.S. 330 (1935), "Sovereignty resides

in the people") NON-CITIZEN, under Special Appearance (Rule 8 (E)) not generally,

NON-DEFENDANT (U.C.C. §1-201 (14)), Holder-In-Due-Course (U.C.C. §3-302 (A) (2))

of all documentation (U.C.C. §5-102 (6)) of the "Entity" Cestui Que Vie trust Luke C.

Storey©, representing the Corporate Fiction: LUKE CARLSON STOREY.

        For The Claimant, is a "transient foreigner'' without legal domicile as defined in [28

USC 1332 (d), 4 USC 110 (d). If the "State" (Legal Fiction) makes a claim against claimant

herein declares this "person" to be "stateless person" (Afroyim v. Rusk, 387 U.S. 253

(1967)), citizenship is a personal property right of the citizen, not the Congress) and

outside any/all general jurisdiction of the federal government. [All "stateless persons" fail

to be subject to the jurisdiction of any federal courts because of being domiciled outside

of the general jurisdiction of the federal government].

                             CAUSE OF ACTION OF ACCOUNTING

Accounting: A cause of action for an accounting arises where there is a fiduciary

relationship, such as where one party has a dispute with a guardian, trustee, receiver, or

other fiduciary who has control over assets of the party complaining. Accountings may

also be ordered where the issues in a contract case, for example, are so complicated that




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it is not clear if the facts can be ascertained any other way and always where the

underlying contract has provided for an accounting in the event of a dispute. When the

complaining party has no separate access to the records, such as where a fiduciary like

a trustee or guardian has the books, an accounting will almost never be denied, since the

complaining party may have no other way to ascertain if the fiduciary has carried out his

duties faithfully.

Elements

To successfully plead for an accounting, one should assert the following:

1. The existence of a fiduciary relationship or contract demands that are so extensive and

complicated that it is not clear that money damages alone are adequate.

2. Necessity for the accounting.

The remedy sought is one in equity, therefore the court has broad discretion in whether

or not it will grant the relief sought. It is important, therefore, to allege sufficient facts to

make clear that justice and fairness demand that an accounting be given.

Defenses

If the matter into which the other party seeks an accounting is one that is simple on its

face, e.g., an oral agreement for performance of a clear-cut duty that involves no fiduciary

entrustment of assets, then this should be raised as a defense by way of motion to strike

or dismiss.

Comments

The remedy of an accounting is almost always performed by a judge or special master

appointed by the judge. Accountings are almost never submitted to a jury, because it is

usually impractical for a jury to undertake the process.



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                          IRS REPRESENTATION ASSUMES FACTS

                                    SHOWN NOT IN EVIDENCE

       THE IRS has had sufficient actual Notice(s) and ample opportunities to establish

conclusively on any/all record(s) of jurisdiction on any/all Matter(s) as well the requisite

power(s) of Attorney and delegation(s) of authority do exist, as a matter of law.

Defendant's D/B/A: IRS Agent LU H. JIMENEZ; letter of Notice of Intent to Levy,

employed by the United States of America; any/all agent(s) bas failed to support its

allegations that Defendants were/are Taxpayers. Defendant(s) failed to prove all

conditions precedent had been met prior to commencing any tax "collections" and prior

to commencing this action.

               Estate Subjected to Revesting of Legal with Equitable Title

        Luke C. Storey has revoked "Legal Title" to Luke C. Storey's estate from the

"common-law trustee" (Title 50 USC §4312), is not defined as an adult "minor'' (Title 31

CFR §363.6) and owns both "Legal" and "Equitable" title to plaintiff's estate in accord with

the merger rule (Restatement of the Law, 2nd, Trusts). The former "common-law

trustee['s]" office is domiciled in the District of Columbia, a MUNICIPAL CORPORATION,

see District of Columbia v. Woodbury, 136 U.S. 450 (1890); Barnes v. District of

Columbia, 91 U.S. 540 (1875).

   "The municipal corporation called the District of Columbia, created by the Act of June
   11, 1878, 18 Stat. 116, c. 337, is subject to the same liability for injuries to individuals
   arising from the negligence of its officers in maintaining in safe condition, for the use
   of the public, the streets, avenues, alleys and sidewalks of the City of Washington,
   as was the District under the laws in force when the cause of action in Barnes v.
   District of Columbia, 91 U. S. 540, arose." Woodbury, supra.

        As the office of the "common-law trustee" aka United States Attorney General, aka

United States Army, General of the Attorneys, aka Alien Property Custodian, has his



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office domiciled inside of said MUNICIPAL COROPORATION, therein, any Grantor Trust

to which said office would be the trustee, would fall within the confines of Title 26 USC

7701 (a)(26) trade of business,

       This is a matter of administrative estoppel by record with the United States

Treasury and plaintiff's birth (banker) state in Basel II banking. Revoking and revesting

title falls within the U.S. Const. Contract Clause, A1, S10, aka corresponding State

Constitution, contract clause. Therein, defendants have no jurisdiction over the Luke C.

Storey.

                                    IRS EVIDENCE OF FRAUD

       The IRS initial Lien(s) "did" as well as "presume" that the Plaintiff is either a

"federal citizen" or "resident alien" or that Luke C. Storey© holds a federal office of some

kind (e.g. Title 26 USC 7701 (a)(26)), neither of which is the truth oflhe matter. THE USDC

neglected or refused to recognize these controlling class distinctions, See, in, the

regulation at 26 CFR 1.1 (b) which attempted to create a specified liability for all federal

cilizen(s) and all resident alien(s), but without a corresponding federal statute that created

a liability for taxes imposed by IRC subtitle (A). Neither class is mentioned anywhere at

IRC§ 1.

          The IRS is not an organization within the United States Department of the

Treasury. The U.S. Department of the Treasury was organized by statutes now codified

in Title 31 of the United States Code, abbreviated "31 U.S.C." The only mention of the

IRS anywhere in 31 U.S.C. §§ 301-313 is an authorization for the President to appoint an

Assistant General Counsel in the U.S. Department of the Treasury to be the Chief

Counsel for the IRS. See 31 U.S.C. 301 (fl/2).




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        Throughout Title 28 of the United States Code -- the laws which govern all the

federal courts -- the term "this title" clearly refers to Title 28. This fact would tend to support

a conclusion that "this title", as that term is used in the IRC, refers to Title 26 of the

United States Code. However, Title 26 has never been enacted into positive law, as

such.

        Even if the IRS were a lawful bureau or department within the U.S. Department of

the Treasury (which they are NOT), the existence of undue influence by the Executive

Branch would violate the fundamental principle of Separation of Powers. This principle,

in theory, keeps the 3 branches of the federal government confined to their respective

areas, and prevents any one branch from usurping the lawful powers that rightly belong

to the other two branches.

        The Separation of Powers principle is succinctly defined in Williams v.

United States, 289 U.S. 553 (1933): however, in that decision the Supreme Court

erred by defining "Party" to mean only Plaintiffs in Article Ill, contrary to the

definition of "Party" that is found in Bouvier's Law Dictionary 11856).

        The federal judiciary, contemplated by the organic U.S. Constitution, was intended

to be independent and unbiased. These two qualities are the essence, or sine qua non of

judicial power, i.e. without which there is nothing. Undue influence obviously violates

these two qualities. See Evans v. Gore supra.

        That further, I do hereby declare that I am not and I never was a "taxpayer" as that

term is defined in the Internal Revenue Code, a "person liable" for any Internal Revenue

tax, or a "person" subject to the provisions of that Code, and declare that I am, and have

always been, a "non-taxpayer;" that courts have recognized and acknowledged that




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individuals can be non-taxpayers, "... for with them Congress does not assume to deal

and they are neither of the subject nor of the object of revenue laws ... ," as stated by the

Court in Long v. Rasmussen, 281 F. 236 (1922), and also Delima v. Bidwell, 182 U.S.

176, 179 and Gerth v. United States, 132 F. Supp. 894 (1955).

       That said "Form 1040" contained no reference to any law or laws which would

explain just exactly who is or is not subject to or liable for the income tax, nor did it contain

any notice or warning to anyone that merely sending said completed "Form 1040" to the

IRS would waive my right to privacy secured by the 4th Amendment and my right to not

having to be a witness against myself secured by the 5th Amendment to the United States

Constitution, and that the "Form 1040" would in itself constitute legal evidence admissible

in a court of law, that the filer is subject to and liable for the income/excise tax even though

and regardless of the fact that I, as a free individual, am actually and legally not subject

to or liable for any income/excise tax and have no legal duty or obligation whatsoever to

complete and file a "Form 1040.

        THEREFORE, SPECIFIC PERFORMANCE in production of the following

documents and data is DEMANDED to prove a liability.

                        INFORMATION REQUESTED FROM AGENT'S

The hearing is not a necessity, but the following request(s) is as follows:

     1. A copy of any/all documents maintained in the system of records identified as

         Individual Master File (IMF) specific and not literal; Data Service, Treasury/IRS

          24.30 "IMF MCC TRANSCRIPT SPECIFIC."

    2. Individual Master File (IMF) Data Services, Treasury/24/30 "IMF MCC Transcript-

          Complete.




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    3.   The       "OFFICIAL        INTERNAL          REVENUE              SERVICE   NON-MASTER

         TRANSCRIPTS" spelled exact as listed herein. (Note: I am not requesting the

         "Official Internal Revenue Service Non-Master Transcript'' which does exist in

         your record systems. See IRM 3 .17.46 0-13 7 (1-1-96) Figure 3 for sample of

         document I am requesting.

    4.   A copy of IRS present/future 668 (y)(c); 668 W (c) or 668 (A) (c) executed

         Under Penalty of Perjury.

    5.   Please send requester a copy of all documents(s) maintained in the system of

         records as Business Master File (BMF) specific and not literal, Data

         Service/IRS 24.046 for Social Security number: XXX-XX-XX01.

    6.   A copy of IRS Form 2644; Recommendation for Jeopardy or Termination

         Assessment (or its successor) issued against the Requester clearly listing the

         Document Locater Number (DLN) and Form 23 C Certificate of Assessment data.

    7.   A Copy of IRS Form 2859; "Request for Quick or Prompt Assessment" (or its

         successor).

    8.   A copy of IRS FORM 3198 regarding requester prepared by the Agent(s).

    9.   A copy of the IRS FORM 3210 "Document Transmittal" (or its successor) in

         conjunction with "Fax Quick Assessment" procedure sent to the Accounting

         Branch in the Computer Services and Accounting Division.

    10. A Copy of the Master File (MF) assessment provided to the ESP by the service

         center.

    11. A Copy of the NON-Master File (NMF) assessment provided to the ESP by the

         service center.




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    12. If a Master File assessment was provided, then a copy of IRS Form 3552

         "Prompt Assessment Billing Assembly" (or its successor form) or TY-26

         Form 17-A Statement of Tax Due (or its successor).

    13. A copy of IRS FORM 4340 "Certificates of Assessments and Payments."

    14. A copy of IRS Form 4549 or 4549 A "Income Tax Examination Changes" (or its

         successors) containing the portion of the Tax Computation and copy of narrative

         sent to the service center Accounting Branch, Accounting and Control System,

         Journal and Ledger Unit.

    15. A copy of the IRS Form 5564 "Notice of Deficiency-Waiver" clearly indicating

         the class of Tax from a specific Table source (activity, event, or commodity) upon

         which an excise tax can be measured to create a tax liability for a procedurally

         lawful, enforceable assessment.

    16. If a Non-Master file assessment was provided, then a copy of Form 6335

         "Statement of Tax Due, The Internal Revenue Service" (or its successor).

    17. A copy of IRS Form 8166 "Revenue Accounting Control System Input

         Reconciliation Sheet."

    18. A copy of any/all lawful Jeopardy Assessments.

     19. A copy of any/all lawful Quick Assessments.

    20. A copy of any/all lawful Prompt Assessments.

    21. A copy of any/all lawful deficiency assessments.

    22. A copy of any/all lawful, procedurally proper assessments with supporting

          documents for each non-tax penalty items, such thing s as frivolous filings,

          etc.




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    23. A copy of any/all lawful, procedurally proper assessments with supporting

         documents for each non-tax penalty interest.

    Any/all response(s) from any/all Agent(s) from the IRS shall be placed on the record

on Court Case stated above.

                              REQUEST FOR ARTICLE Ill COURT

                                 CERTIFICATE OF NECESSITY

       Please accept this Notice and Demand as I respectfully request by me, Luke C.

Storey©, sui-juris, alleged Citizen of Texas, State, (IPP/Title 18 USC §112) expressly

not a citizen of the United States ("federal citizen"), and Relator in the above entitled

matter (hereinafter "Relator") to requesting to you Chief Justice of the United States a

Certificate of Necessity that you can designate and assign temporarily a competent

and qualified judge from the Court of International Trade to perform judicial duties in

the honorable district court of the United States (OCUS). (See 28 U.S.C. 293, 296, 297,

461(b); also, Evans v. Gore, 253 U.S. 245 (1920). The authority in Evans is particularly

poignant United States District Judges in America are appointed to serve in either an

Article I or in an Article IV capacity at the present time. In this capacity, said Judges do

not enjoy the explicit immunity, which is found in Article Ill, Sec 1 ("3:1").

        Since to this day, it is not clear of what this Cause is as requested, "Admiralty" nor

less the civil cause that was changed, I must ask you as I have asked the others, what

are we under, because no one wants to speak nor in written form of what and where we

are at this present time. This Relater still would like the requested "Admiralty," but if you

decided that the change was a legal mode, this relator wishes to and as requested if we're




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playing the civil arena, my request to carry on litigating this cause ls still in an Article

Ill Court of competent jurisdiction.

       In particular, for this case to move forward, this honorable court must be seated

with a competent and qualified judge who is not subject to any on-due executive or

legislative influence whatsoever.

        This means, among other things, that an Article Ill judge must be designated

and temporarily appointed to preside over ALL PROCEEDINGS in this Instant

Cause, who IS NOT A "TAXPAYER" and whose integrity and independence from all

other governments and all other government branches are "unassailable" and

beyond question.

        Relater hereby objects strenuously to the existence of any contract, either verbal

or written, either expressed or implied in fact, between any currently seated United States

District Judge, or any controlling interests, on grounds of conflicts of interest. This

Relater is guaranteed the fundamental right to an independent and unbiased judiciary.

(See Evans v. Gore supra) The existence of a contract between the presiding judge

and any other branch of federal government, or any of its agencies, assigns, or

instrumentalities, is evidence of a conflict of interest and proof of a dependent and

biased judiciary. (Also see Lord vs. Kelly, 240 F. Supp 167, 169, (1965) as well again in

Evans vs. Gore.)

    Relaters NOTICE AND DEMAND, as made herein, now com.es properly before you:

    (1) Chief Justice, d/b/a: Alia Moses to prepare a Certificate of Necessity and that

         you, Alia Moses, Chief Justice designate and assign temporarily a competent




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          and qualified judge from the Article Ill Court of International Trade to perform

          Judicial duties.

    (2) to file said Certificate in the official court record of the instant case: and

    (3) to serve said certificate on all interested parties.

                       ISSUES AND RELIEF STATED BY PETITIONER

        Petitioner never received Notice of intent for the said 1040; Years 2019 to 2023

as well as an itemized RBA [Restitution Based Assessment). This alone would permit

petitioner to invoke Court's jurisdiction. This Letter of Notice to intent to seize (levy) shall

be null and void NOT ONLY FOR JURISDICTIONAL ISSUES, but noncompliance of the

above requested being put on the record.

Respectfully Submitted




Luke C. Storey©




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